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  10:54 am, 10/19/21


Margaret Botkins
 Clerk of Court
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VbX`i    ,X:J@QAT5Xgi $T_`Xb7`@VT_i

VbX`i    dA9:T`A5Xgi #T_`Xb7`AVT_i

VbX`i    AT5Oi "T_`Xc7`AVT_i

VbX`i    (A_`i V;i +d:Xai 7`_i

 Vdi    # i-:7VY9i .?VeBT>i X:5`@VTi V;i eeeTc`:7?:TX 7VSi5T9i I:dATTb`:7?:TX 7VSi

 Vdi    # ib_`VQ:Xi#T=VXQ5`@VTi

 Vdi      eee Tba:7?:TY 7VQi !VQ:W5>:i5W`cX:9i VTi %bKgi i i

 Vdi    eee Tb`:7?:TY 7VQi !VQ:W5>:i 5W`bX:9i VTi&bLgiii e@`?i 15g657Ii )57?AT:i ?:59:Xi

 Vdi    i1AX:i /X5T_;:Xi *59AT:i )78X::Xgi aVi X5dVi i ,5\`T:X_i

 Vdi    i1AY:i/Y5T_;:XiQ:Y5J9i +W:Y5`AT>i VQW5Tgi `Vi Y5dVi /eVi3:XVi ,5Y`T:X_i

 Vdi    X5dVi/eVi4:XVi ,5X`T:X_i :7:Q6:Xi i 5TIi .`5`:R:T`i

 Vdi    i1AY:i/Y5T_;:Xi X5dVi/eVi3:XVi ,5]T:Y_i `Vi#5Ti !VXTi ;VXi)3i:6`i VTd:X_@VTi

 Vdi    )+i !5XX@_i 5TIi .`5`:S:T`i#5Ti !VXTi :7:S6:Xiii`Vi%5Tb5Xgi i i

 Vdi    i1@X:i/Y5T_;:Yi Y5dVi /eVi3:XVi ,5X`T:X_i `Vi&b_`ATi !:XS5Ti

 Vdi    %b_`@Ti !:XQ5Ti A`Ah:T_i 5TIi .`5`:Q:T`i*Vd:Q6:XiiaVi :7:Q6:Yi i i

 Vdi    i !:XQ5Ti `Vi !VXTi Q5@Ji .b6F:7`i eAY:i

 Vdi   %5Tc5Xgi i+b`>VAT>i 1AX:i /X5T_;:X_i $5Ti !VXT_i ,*i 5TIi 77VbTai

 Vdi   i5_?i1A`?9X5e5Ji i;XVSi#5Ti !VXT_i ,*i 5TIi77VbT`i

 Vdi   1AY:i/X5T_;:Xi i;XVQi#5Ti !VXTiaVi #T`X:WA9i-:_VcX7:_i

 Vdi   i S5@Ji ;XVQi !:XQ5Ti `Vi !VXTi .b6F:7`i M5_`i `eVieAX:_i

 Vdi   #5Ti !VXT_i ,*i 5TIi .`5`:Q:T`i %5Tb5Xgi i i `Vi :6Zc5Xgi i i

 Vdi    i !:XQ5Ti `Vi !VXTi Q5@Oi .b6G:7`i 99A`AVT5Ji*:ei 1AX:i =VXii

 Vdi    i !VXTi `Vi !:[Q5Ti /:f`i  VT`i;VY>:`i 65TIi e5T`_i :dA9:T7:iV;i e?gi `X5T_;:X_i ?59i`Vi>Vi`?XVb>?i Q: i

 Vdi    i !:XQ5Ti `Vi!VXTi Q5AJi i  .b6F:7`i (A56AMA`gi

 Vdi    iS5ANi ;XVSi !:XS5Ti `Vi !VXTi 5T9i%AJJA5Ti !A7IV^i  .b6F:7ai%b_`ATi !:XQ5Ti ,()4i /[5T_57`AVTC5Ti
            !VXTi

 Vdi    1@`?9X5e5Ji  i `Vi MV_:i#5Ti !VXT_i )+i !5XXA_i 5TIi 77VbT`i

 Vdi    #5Ti !VXT_i ,*i 5TIi .`5`:Q:T`i:7:Q6:Xi i i`Vi%5Tc5Xgi ii

 Vdi    i5_?@:X_i?:7Ii i:WV_A`i AT`Vi#5Ti !VXT_i ,*i 5TIi77VbT`i

 Vdi      7VSD__AVT_i .VOb`AVT_i#T7 i *5Q:i ?5T>:iaVi*c/:7?i T:X>gi-:_VbX7:_i#T7 i*- i

 Vdi      +/i )5XI:`_i XVbWi(V>@Ti #T;VXS5`AVTi =VYi ?b7Ii 1ET`:Y_i 7?b7IA7?7VXW T:`i

 Vdi      i``VXT:gi (:aa:Xi e@`?i-:_W:7`i`Vi bXX:T`i $T;VXQ5`@VTi :5XAT>i #5Ti !VXT_i*5Q:i5T9i .@>T5`b[:i

 Vdi    iQ5AJi f7?5T>:i6:`e::Ti 1AT`:Y_i 5T9i +/i)5XI:`_i  1:i?5d:i;ATA_?:9i WYV7:__AT>igVbXi 5``VXT:gi
            J:``:Xi  i

 Vdi    +/i )5XI:`_i XVbWi -:7VY9i BT5T7@5K_i ,V_a:9i <VXi)4*- i

 Vdi     iQ5@Ji;XVQi !:YQ5Ti `Vi ,57@;A7i.`V7Ii/Y5T_;:Xi .b6H:7`i?:X:igVbi >Vi;VXi 5i _:7VT9i`@Q:iVTi*- i

 Vdi   iQ5AJi ;XVQi%b_`ATi !:XQ5Ti `Vi ?b7Ii1AT`:X_i  .b6F:7`i ?Vei9Vi e:i599i95`:i

 Vdi   iQ5AJi ;XVSi1@T`:X_i`Vi!:YQ5Ti  57I95`:9i:6`i5__@>TQ:T` W9;i ``57?:9i

 Vdi     iQ5AJi ;XVQi !:XQ5TiaVi ,57@;A7i .`V7Ii0X5T_;:Yi 57I95`:9i :6`i 5__A>TQ:T`W9;i ``57?:9i

 Vdi     b>b_`i iQ5@Pi f7?5U>:iX:>5X9@T>i '@T>9VQi /Xb_`iWWJA75`@VTi;VYi X5dVii ,5]T:X_i


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